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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 22-mj-22 (RMM)
                                             :
ILYA LICHTENSTEIN, and                       :
                                             :
HEATHER MORGAN,                              :
                                             :
               Defendants.                   :

                                MOTION FOR A
                 CIPA PROTECTIVE ORDER GOVERNING DISCOVERY

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully moves the Court pursuant to § 3 of the Classified Information

Procedures Act (CIPA), 18 U.S.C. App. 3 § 3, for the entry of a protective order to govern the

handling, use, and storage of classified national security documents and information produced in

discovery in this matter. A proposed Memorandum of Understanding is attached as an exhibit to

the Order. Counsel for the defendants consent to the proposed order.
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                           Respectfully submitted,

                           MATTHEW M. GRAVES
                           UNITED STATES ATTORNEY
                           D.C. Bar Number 481052

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